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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT
KIKUKAWA,
MEMORANDUM IN SUPPORT OF
Plaintiffs, MOTION

VS.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

MEMORANDUM IN SUPPORT OF MOTION

I, INTRODUCTION

This is a Second Amendment case in which the Plaintiffs ask this Court to
find provisions in two statutes, Hawaii Revised Statutes (“HRS”) §§ 134-2 and
134-3, unconstitutional. Plaintiffs complain that pursuant to those statutes (1) a
permit to acquire a handgun is only valid for ten days after the date of issuance,
and (2) they must bring their newly acquired handguns to the Honolulu Police
Department for registration. Plaintiffs argue that their Second Amendment right to

acquire handguns is substantially burdened by these provisions.
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For the reasons and authorities discussed below, Defendant respectfully
requests that summary judgment be entered in her favor and against the Plaintiffs.’

Il. THE HISTORY OF HAWAID’S FIREARM PERMITTING
AND REGISTRATION LAWS.

Hawaii’s firearm permitting and registration laws date back well before
Hawaii became a state. A basic registration requirement was first adopted by the
Territorial Legislature in 1907. See Defendant’s (1) Opposition to Plaintiffs’
Separate Concise Statement of Material Facts in Support of Motion for Summary
Judgment, and (2) Concise Statement of Material Facts in Support of Counter
Motion for Summary Judgment (“Concise Statement”) at #1. Act 85 required “any
person, firm, corporation or copartnership” residing or doing business in Hawaii
that has “any fire arm or fire arms or any ammunition” in its possession to file a
“description” of the firearm, firearms, or ammunition with the county clerk. Id. at
#2. The description included the “class of fire arms,” the “name of the maker[,]
and the factory number.” Id. at #3. The name of the owner or possessor, the
person’s address, and the person’s signature also had to be included on the

description form. Id. at #4.

*Plaintiffs settled their as-applied claims against the City and County of Honolulu.
Only Plaintiffs’ claims against Defendant Connors in her official capacity remain
in this action.
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In 1919, the Territorial Legislature adopted a “permit to purchase”

requirement for firearms. Id. at #5. Act 124 provided that:

Any person, firm, or corporation, dealing in or keeping
for sale firearms, or any other person in possession of
firearms, shall not make an individual or retail sale of
any such firearms, unless the person desiring to purchase
the same shall first have obtained from the sheriff or a
deputy sheriff of the county or city and county a written
permit for such purchase[.]

Id. The Senate Committee on Military stated the purpose of this provision in its

report:

Id. at #6.

The purpose of this amendment is to have the sheriff or
deputy sheriff of the county or City and County issue a
permit to any one desiring to purchase firearms or
ammunition, said permit to be presented to the vendor

of said article and to be endorsed on the back thereof by
said vendor describing the article so purchased, said
permit to be immediately transmitted to the officer

issuing the same. As this will enable the police authorities
to have a better supervision and check over the sale of

firearms, your Committee would recommend the passage
of this bill.

In 1923, the Territorial Legislature passed Act 156 which changed the

language from a “permit to purchase” to a “permit to acquire.” Id. at #7.

In 1927, the Territorial Legislature passed Act 206. Id. at #8. Act 206

clarified that the required “description” had to be in a “report” to the county sheriff

(Section 18) and that the “permit to acquire” applied to a “sale, gift, loan or
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otherwise” (Section 9) and not just to disposition by dealers (Section 23). Id. at
#9. Act 206 also added a scheme by which firearms would be confined to a
person’s “dwelling house or business office” (Section 5), unless the person
obtained a license to carry (Section 7). Id. at #10. An exception was also made for
transporting a firearm in a wrapper between a place of purchase or repair, a home,
or a place of business (Section 6). Id. at #11. Act 206 also prohibited the
alteration of identifying marks: “No person shall change, alter, remove, or
obliterate the name of the maker, model, manufacturer’s number or other mark of
identification on any pistol or revolver” (Section 13). Id. at #12.

In passing Act 206, the Legislature indicated that its purpose was to make
the firearms statutes more effective. Id. at #13. The bill “seeks to make effective
the existing firearms statutes found in Chapter 128 of the Revised Laws of Hawaii
1925, those statutes having heretofore been of no practicable benefit to the people
of this Territory because of inconsistencies and ambiguities.” Jd.

In the 1933-1934 Special Session, the firearms statutes were
comprehensively revised when the Territorial Legislature passed Act 26. Id. at
#14. The Legislature stated that “{t]he purpose of the Bill is to give the law
enforcing agencies of the Territory a better means of controlling the sale, transfer
and possession of firearms and ammunition.” Jd. at #15. Act 26 provided in

relevant part:
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SECTION 3: Every person residing or doing business
or temporarily sojourning within the Territory on the effective
date of this Act who possesses a firearm of any description,
whether usable or unusable, serviceable or unserviceable,
modern or antique, not already registered in the name of the
present possessor, or who possesses ammunition of any kind or
description, except shotgun ammunition, shall, within ten days
of said effective date, register the same with the chief of police
of the city and county of Honolulu or the sheriff of the county,
other than the city and county of Honolulu, wherein is his place
of business, or if there be no place of business, his residence, or
if there be neither place of business nor residence, his place of
sojourn.

Every person arriving in the Territory after the effective
date of this Act, who brings with him firearms or ammunition
of the type and description set out in this section, shall register
the same in a similar manner within forty-eight hours after
arrival.

SECTION 4: No person residing or doing business or
temporarily sojourning within the Territory shall take
possession of any firearm of any description, whether usable
or unusable, serviceable or unserviceable, modern or antique,
registered under prior Acts or unregistered, or of any
ammunition of any kind or description, except shotgun
ammunition, either through sale, gift, loan, bequest, or
otherwise, whether procured in the Territory or imported by
mail, express, freight, or otherwise, until he shall first have
procured from the chief of police of the city and county of
Honolulu or the sheriff of the county, other than the city and
county of Honolulu, wherein his place of business, or if there
be no place of business, his residence, or if there be neither
place of business nor residence, his place of sojourn, a permit
to acquire as prescribed herein. . . . Such permit shall be void
unless used within ten days after the date of issue... .

Any person acquiring a firearm or ammunition under the
provisions of this section shall, within five days of acquisition,
register same in the manner prescribed by Section 3 of this Act.
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See Exhibit “G” to Defendant’s Concise Statement (emphases added). See also
Revised Laws of Hawaii (“RLH’’) §§ 2541 and 2542 (1935) regarding registration
and permits to acquire, attached to Defendant’s Concise Statement as Exhibit “T’.

Thus, by 1933-1934, Hawaii’s permitting and registration laws were taking
their modern form. The modern terminology, “registration” and “permit to
acquire,” had replaced the previous language. The ten-day deadline to use a permit
to acquire was adopted. And the five-day deadline to register a firearm after
acquiring it was also adopted. The place to keep provision also took on its more
modern language, requiring persons to confine their firearms to the “possessor’s
place of business, residence, or sojourn,” except if it is carried in a wrapper
between a place of purchase or repair, a home, a place of business, or a place of
sojourn, or except if a concealed carry permit is granted.

In 1968, the Hawaii Revised Statutes (“HRS”) replaced the Revised Laws of
Hawaii. The firearm registration provision was codified as HRS § 134-2, and the
permit to acquire provision was codified as HRS § 134-3. Id. at #16. The
prohibition on alteration of identification marks was codified as HRS § 134-10. Id.
at #17.

In 1988, HRS Chapter 134, Part I, was entirely recodified. Jd. at #18. The

registration and permitting provisions were reversed, with the permit to acquire
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provision becoming HRS § 134-2 and the registration provision becoming HRS §
134-3. Id. at #19.

Amendments have since been made to these statutes; however, they remain
fundamentally the same. The current permit to acquire provision continues to be
located in HRS § 134-2, Id. at #20, and the current registration provision continues
to be located in HRS § 134-3. Id. at #21. The prohibition against alteration of
identification marks is still located in HRS § 134-10. Id. at #22.

Hawaii’s firearm registration and permitting statutes date back more than
100 years to 1907 and 1919, respectively, and took what is essentially their modern
form in 1933-1934. As recently as 1990, the Legislature reasserted the public
safety purpose underlying these statutes.

In 1990, the Legislature considered amending the statutes to prohibit the
possession of firearms near public and private schools. Jd. at #23. Ultimately,
however, the Legislature decided to instead increase the penalties under the
existing firearms laws. Id. at #24. The Senate Judiciary Committee explained:
‘While your Committee strongly agrees that our educational institutions should be
places of sanctuary, we believe just as strongly that our entire community should
be a safe place to live and learn and that everyone deserves to feel free from the

threat of harm wherever they go.” (emphases added). Id. at #25. Consequently,
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the purpose behind Hawaii’s firearm registration and permitting statutes is to make
the entire community safer by reducing the threat of gun violence.

Il. STANDARD OF REVIEW

Defendant Connors agrees with the legal standards applicable to motions for
summary judgment set out in the Plaintiffs’ motion. There are no genuine issues of

material fact that would preclude the entry of summary judgment in this case.

IV. ARGUMENT

A. Ninth Circuit Law on the Second Amendment.

Following the Supreme Court’s seminal decision in District of Columbia v.
Heller, 554 U.S. 570 (2008) (“Heller P’), most courts of appeals, including the
Ninth Circuit, have adopted a two-step analysis for Second Amendment cases.
“The two-step inquiry . . . ‘(1) asks whether the challenged law burdens conduct
protected by the Second Amendment and (2) if so, directs courts to apply an
appropriate level of scrutiny.’” Jackson v. City & County of San Francisco, 746
F.3d 953, 960 (9th Cir. 2014).

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In the first step, the question is “‘whether the challenged law burdens
conduct protected by the Second Amendment,’ based on a ‘historical
understanding of the scope of the Second Amendment right,’ or whether the

challenged law falls within a ‘well-defined and narrowly limited’ category of

prohibitions ‘that have been historically unprotected.’” Jd. (citations and brackets
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omitted). In Heller I, the Supreme Court set forth non-exhaustive categories of
“presumptively lawful regulatory measures” that are presumed to be consistent
with the historical scope of the Second Amendment:

Although we do not undertake an exhaustive historical

analysis today of the full scope of the Second

Amendment, nothing in our opinion should be taken

to cast doubt on longstanding prohibitions on the

possession of firearms by felons and the mentally ill,

or laws forbidding the carrying of firearms in sensitive

places such as schools and government buildings, or

laws imposing conditions and qualifications on the

commercial sale of arms.
Heller I, 554 U.S. at 626-27 & n.26 (emphases added). The Court, however, did
not define the contours of these “presumptively lawful” categories. See id. at 635
(“[T]here will be time enough to expound upon the historical justifications for the
exceptions we have mentioned if and when these exceptions come before us.”).

“If a prohibition falls within the historical scope of the Second Amendment,

[the court] must then proceed to the second step of the Second Amendment inquiry
to determine the appropriate level of scrutiny.” Jackson, 746 F.3d at 960. When
ascertaining the appropriate level of scrutiny, courts consider: “(1) how close the
law comes to the core of the Second Amendment right and (2) the severity of the
law’s burden on the right.” Jd. at 960-61 (internal quotation marks omitted). “A

law that implicates the core of the Second Amendment right and severely burdens

that right warrants strict scrutiny. Otherwise, intermediate scrutiny is appropriate.
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‘[If a challenged law does not implicate a core Second Amendment right, or does
not place a substantial burden on the Second Amendment right,’ the court may
apply intermediate scrutiny.” Silvester v. Harris, 843 F.3d 816, 822 (9th Cir.
2016) (emphases added) (citations omitted).

“[T]he core of the Second Amendment is ‘the right of law-abiding,

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responsible citizens to use arms in defense of hearth and home.’” United States v.
Chovan, 735 F.3d 1127, 1138 (9th Cir. 2013). And in determining whether a
burden is substantial, the Ninth Circuit has held that “laws which regulate only the
‘manner in which persons may exercise their Second Amendment rights’ are less
burdensome than those which bar firearm possession completely.” Jackson, 746
F.3d at 961 (emphasis in original). Furthermore, “firearm regulations which leave
open alternative channels for self-defense are less likely to place a severe burden
on the Second Amendment right than those which do not.” Id.

If a challenged law does not implicate a core Second Amendment right or
does not place a substantial burden on the Second Amendment right, then
intermediate scrutiny may be applied. Jd. at 961. Intermediate scrutiny requires
(1) a “significant, substantial, or important” government objective, and (2) a

“reasonable fit” between the challenged law and the asserted objective. Jd. at 965.

“(Intermediate scrutiny does not require the least restrictive means of furthering a

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given end.” Id. at 969. Even if there are “less burdensome means,” a law can
survive intermediate scrutiny. Id.

In a recent Second Amendment decision, Young v. State of Hawaii, 992 F.3d
765 (9" Cir. 2021), the Ninth Circuit explained that “[a] facial challenge is a claim
that the legislature has violated the Constitution, while an as-applied challenge is a
claim directed at the execution of the law,” and that “[b]ecause a facial challenge is
directed to the legislature, the plaintiff must show that ‘no set of circumstances
exists under which the [statute] would be valid.’” Id. at 779 (citations omitted).

B. _ Plaintiffs’ Claim That the Ten-Day Statutory Expiration

Date on the Validity of Permits to Acquire Handguns

Violates Their Second Amendment Rights is Meritless,
and Summary Judgment Should Enter in Favor of Defendant.

Plaintiffs argue that their Second Amendment rights are being violated
because permits to acquire handguns are valid for only ten days. This claim lacks
merit because (1) this statutory provision is longstanding, (2) it does not impose a
substantial burden on the Plaintiffs, and (3) it furthers the governmental objective
of public safety.

The first step in the Ninth Circuit’s Second Amendment analysis is
determining “whether the challenged law burdens conduct protected by the Second
Amendment[.]” Jackson, 746 F.3d at 960. The first step includes considering
whether there are “presumptively lawful” “longstanding” exceptions that are

applicable. Heller J listed “laws imposing conditions and qualifications on the

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commercial sale of arms” as one of those exceptions. See Heller I, 554 U.S. at
626-27 & n.26 (emphasis added). See also Silvester, 843 F.3d at 829-32 (Thomas,
C.J., concurring) (applying this exception to waiting periods). Registration and
permitting requirements are conditions and qualifications attached to the sale (or
other transfer) of firearms. In Hawaii, registration and permitting requirements, in
general, date back to 1907 and 1919, respectively. Therefore, a ten-day expiration
date, as part of the permitting process, should be included in the exception.

More specifically, in Hawaii, the ten-day expiration date for permits to
acquire dates back to 1933-1934. See Act 26, § 4 at p. 37, Exhibit “G” to
Defendant’s Concise Statement. Other states passed similar laws during that era.
For example, the state of Missouri’s 1921 statute regulating the sale and possession
of firearms included a provision that permits for pistols, revolvers or firearms of
comparable size were valid for only thirty days after issuance. See Exhibit “P” to
the Declaration of Kendall J. Moser at Section 2. In 1923, Arkansas required that
any person who possessed a pistol or revolver “present” their firearm to the county
clerk for recordation. See Exhibit “Q” to the Declaration of Kendall J. Moser at
Section 1. Massachusetts amended its firearms statutes in 1926 to read that
permits to purchase pistols and revolvers were valid for no more than ten days, as

in Hawaii. See Exhibit “R” to the Declaration of Kendall J. Moser at Section 3.

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In 1927, Michigan too had a ten-day expiration date on licenses to purchase pistols,
and required a safety inspection by the police. See Exhibit “S” to the Declaration
of Kendall J. Moser at Sections 2, 9.

Numerous federal cases hold that firearm regulations dating back to the early
20th century are sufficiently “longstanding” so as to qualify for the exception. See
Fyock v. Sunnyvale, 779 F.3d 991, 997 (9th Cir. 2015) (mentioning “early
twentieth century” laws); National Rifle Ass’n of Am. v. Bureau of Alcohol,
Tobacco, Firearms, and Explosives, 700 F.3d 185, 196 (Sth Cir. 2012) (“By 1923,
therefore, twenty-two States and the District of Columbia had made 21 the
minimum age for the purchase or use of particular firearms.”); Heller v. District of
Columbia, 670 F.3d 1244, 1254-55 (D.C. Cir. 2011) (“Heller IT’) (“The Court in
Heller [I] considered ‘prohibitions on the possession of firearms by felons’ to be
‘longstanding’ although states did not start to enact them until the early 20th
century.”). Therefore, the ten-day expiration date for permits to acquire, which
dates back to 1933-34, is a presumptively lawful longstanding exception to the
Second Amendment and that should be the end of the analysis.

If the Court proceeds to the second step of the Jackson analysis, the core of
the Second Amendment is presumably implicated since Plaintiffs state that they
want to purchase handguns. But the requirement of using a permit to acquire

within ten days is not a substantial burden. It affects only the manner in which a

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person purchases or obtains his or her firearm and is not a ban. See Jackson, 746
F.3d at 961. Moreover, ten days is not unreasonably burdensome. For pistols and
revolvers, a separate application and permit is required for each transaction. HRS
§ 134-2(e). Consequently, each permit is good for only one thing. Ten days is
enough time within which to perform a single transaction, which is the only thing
the permit is for. In contrast, permits to acquire rifles and shotguns are good for
subsequent purchases. Jd. Therefore, they are valid for a longer period -- one year.
Id. For these reasons, the ten-day expiration date for pistols and revolvers is not a
substantial burden. Although the core of the Second Amendment may be
implicated, there must also be a substantial burden in order for strict scrutiny to be
applied. See Silvester, 843 F.3d at 822. Plaintiffs’ argument that strict scrutiny
applies is clearly incorrect. See Memorandum, ECF 85-1 at p. 17 of 30. Because
there is no substantial burden, intermediate scrutiny should be applied. See
Silvester, 843 F.3d at 822.

In general, the “significant, substantial, or important” government objective
in requiring people to comply with permitting requirements is public safety in that
such requirements provide more effective supervision and control over the sale,
transfer, and possession of firearms. See S. Stand. Comm. Rep. No. 388, in 1919
Senate Journal, at p. 1420, Exhibit “C” to Defendant’s Concise Statement. More

specifically, a ten-day expiration date ensures that the information in the permit is

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current and it minimizes the risk of an unauthorized person using it if it is lost or
stolen. Plaintiffs’ objection to the ten-day expiration date for permits to acquire is
more a matter of the “reasonable fit’’ between the challenged law and the asserted
objective. See Jackson, 746 F.3d at 965. Plaintiffs argue that ten days is too short
and the fact that rifles and shotguns have a one-year expiration date means that it is
possible to lessen the burden. However, intermediate scrutiny does not require the
least restrictive means of furthering a given end. Jd. at 969. Therefore, even if
permits for pistols and revolvers could have a longer expiration date, there is no
constitutional imperative that requires it.

There are in fact strong reasons for distinguishing between pistols and
revolvers on one hand and rifles and shotguns on the other. Pistols and revolvers
are more concealable and therefore more dangerous. This is the reason why
sawed-off shotguns and switchblades are considered dangerous and unusual
weapons. See Heller I, 554 U.S. at 625; Crowley Cutlery Co. v. United States, 849
F.2d 273, 278 (7th Cir. 1988). Therefore, it makes sense to impose stricter
permitting requirements on pistols and revolvers than on rifles and shotguns.

Plaintiffs further argue that there is no need to require current information in
a permit to acquire because information on applicants is continuously updated as a

result of Hawaii’s participation in the “Rap Back” Service. See Memorandum,

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ECF 85-1 at pp. 25-27 of 30. The Rap Back Service is a service operated by the

Federal Bureau of Investigation:

The Rap Back service allows authorized agencies to receive
notification of activity on individuals who hold positions of
trust (e.g. school teachers, daycare workers) or who are under
criminal justice supervision or investigation, thus eliminating
the need for repeated background checks on a person from the
same applicant agency. Prior to the deployment of Rap Back,
the national criminal history background check system provided
a onetime snapshot view of an individual’s criminal history
status. With Rap Back, authorized agencies can receive on-
going status notifications of any criminal history reported to

the FBI after the initial processing and retention of criminal or
civil transactions. By using fingerprint identification to identify
persons arrested and prosecuted for crimes, Rap Back provides
a nationwide notice to both criminal justice and noncriminal
justice authorities regarding subsequent actions.

Federal Bureau of Investigation, Next Generation Identification (NGI): Rap Back,

https://www.fbi.gov/services/cjis/fingerprints-and-other-biometrics/ngi (last visited

May 22, 2021). However, what Plaintiffs fail to understand is that under Rap
Back, Hawaii authorities will only receive notifications of further “criminal
history,” such as arrests and prosecutions. There are people other than criminals
who are also prohibited from owning or possessing a firearm, such as those “under
treatment or counseling for addiction to, abuse of, or dependence upon any
dangerous, harmful, or detrimental drug, intoxicating compound . . . or intoxicating
liquor” and those “diagnosed as having a significant behavioral, emotional, or

mental disorders as defined by the most current diagnostic manual of the American

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Psychiatric Association or for treatment for organic brain syndromes[.]” See HRS
§ 134-7(c)(1) and (3), Exhibit “L” to Defendant’s Concise Statement. The Rap
Back Service will not provide notifications regarding such persons. Persons
subject to civil protective orders or restraining orders are also disqualified from
owning or possessing firearms, but they do not appear to be subject to the Rap
Back Service since the initial granting of those orders is civil rather than criminal
in nature. See HRS § 134-7(f). They would only be subject to the Rap Back
Service if they subsequently violated those orders, which would then constitute
crimes. Further, even regarding persons who commit crimes, the Rap Back
Service is not infallible, and there is no reason why the information required in a
permit to acquire should not supplement the Rap Back Service in case individuals
fall through the cracks.

Plaintiffs further argue that there is no need to require current information in
a permit to acquire because qualifications such as the completion of firearms safety
and education programs do not expire. See Memorandum, ECF 85-1 at pp. 26-27
of 30. However, Plaintiffs ignore other information in permits to acquire that can
go out of date. Background information (such as one’s name or address) can
change, one’s physical appearance can change over time, and one’s mental health
history can also change. Applicants for permits to acquire are required to provide

this information, in the application form or an attached photograph, when they

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apply. See HRS § 134-2(b). A relatively short expiration date will ensure that the
information remains accurate when the person acquires his or her firearm.

For these reasons, Plaintiffs’ claim concerning the ten-day statutory
expiration date for permits to acquire handguns is meritless. Summary judgment
should therefore enter in favor of Defendant.

C. Plaintiffs’ Claim That Their Second Amendment Rights

are Being Violated by Requiring In-Person Inspection

of Firearms at Registration is Likewise Meritless, and
Summary Judgment Should Enter in Favor of Defendant.

Plaintiffs rely on the majority opinion in Heller v. District of Columbia, 801
F.3d 264 (D.C. Cir. 2015) (“Heller IV’), for their argument that requiring
inspection of firearms at registration is improper. See Memorandum, at ECF 85-1
at pp. 29-30 of 30. In Heller IV, the majority struck down the District of
Columbia’s requirement that the person bring the firearm with him or her to be
registered. Heller IV, 801 F.3d at 277. The majority did so based on the idea that
a person would not go to the trouble of registering a weapon other than the weapon
in his or her possession. /d. The majority also stated that bringing a firearm in to
the police would more likely be a threat to public safety because of the risk that the
gun might be stolen en route or that the would-be registrant might be arrested or
even shot by police seeing a “man with a gun” or a gun case. Id.

The majority’s reasoning is deeply flawed and this Court should not follow

it. As the concurring and dissenting opinion in Heller IV pointed out, inspection of

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the firearm would not just address deliberate falsehoods but also innocent
mistakes. /d. at 285-86 (Henderson, J., concurring in part and dissenting in part).
Some people might innocently make mistakes in transcribing serial numbers or
other identifying information. More importantly, some people might not be aware
that their firearm violates Hawaii law until they bring it to the police station and
the police firearms unit inspects it. See id. at 286.

HRS § 134-10 prohibits “alter[ing], remov[ing], or obliterat[ing] the name of
the make, model, manufacturer’s number, or other mark of identity of any firearm
or ammunition.” HRS § 134-8 (2011) prohibits, among other things, “assault
pistols . . . ; automatic firearms; rifles with barrel lengths less than sixteen inches;
shotguns with barrel lengths less than eighteen inches; cannons; mufflers,
silencers, or devices for deadening or muffling the sound of discharged firearms . .
. ammunition magazines with a capacity in excess of ten rounds which are
designed for or capable of use with a pistol[.” HRS § 134-8.5 (Supp. 2018)
prohibits bump fire stocks, multiburst trigger activators, and trigger cranks. Some
people might not be aware that their identifying marks have been altered, that their
weapon constitutes an “assault pistol,” that the barrel length of their rifle or
shotgun is problematic, or that their accessories are prohibited.

The majority’s argument in Heller IV that bringing the firearm to the police

station itself threatens public safety is similarly weak. The risk that a firearm will

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be stolen exists whenever it is taken out in public, not just when taken to a police
station for inspection. However, no one would argue that such a risk justifies
banning the use of firearms for hunting or target shooting. That is because the
utility of lawful uses (like hunting and target shooting) outweighs the minimal risk
of the firearm being stolen. Similarly, the utility of bringing the firearm to the
police station for inspection outweighs the minimal risk of it being stolen. And
Hawaii’s place to keep laws expressly permit people to take firearms from their
“place of business, residence, or sojourn” to “[a] police station” in an enclosed
container. HRS §§ 134-23(a)(6), 134-24(a)(6), and 134-25(a)(6) (2011).
Therefore, the police should be expecting people to bring their guns and gun
containers to the police station, especially since registration is required by HRS §
134-3.

Further, the Heller IV majority overlooked the fact that the ability to trace
firearms and identify their owners is critical to law enforcement. See United States
v. Marzzarella, 614 F.3d 85, 98 (3d Cir. 2010) (“[P]reserving the ability of law
enforcement to conduct serial number tracing . . . constitutes a substantial
government interest.””). However, in order to trace a weapon, one needs to be sure
of the identity of the owner, the link from the owner to the weapon, and the
identity of the weapon. But without verifying the identifying marks on a weapon,

like the serial number, the identity of the weapon remains uncertain. That is why

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the District Court in Heller IIT said that bringing the gun in to verify the
characteristics of the weapon is similar to the requirement of in-person
identification of the registrant. See Heller v. District of Columbia, 45 F. Supp. 3d
35, 59 (D.D.C. 2014) (“Heller II’), aff'd in part and rev’d in part, 801 F.3d 264
(D.C. Cir. 2015) (“Heller IV’). The Heller IV majority ignored this critical link in
the chain. See United States v. Mobley, 956 F.2d 450, 454 (3d Cir. 1992) (“It is no
secret that a chain of custody for a firearm greatly assists in the difficult process of
solving crimes. When a firearm is stolen, determining this chain is difficult and
when serial numbers are obliterated, it is virtually impossible.”).

Regardless of whether Heller IV is or is not followed, under the ordinary
Ninth Circuit analysis, which is required under Ninth Circuit law, see Silvester,
843 F.3d at 820-22; Jackson, 746 F.3d at 960-61; Chovan, 735 F.3d 1136-37
(describing the Ninth Circuit’s two-step inquiry), a requirement of bringing the
firearm to the registration is constitutional. In the first step of the analysis, the
requirement qualifies under the “presumptively lawful” “longstanding” exception
for “laws imposing conditions and qualifications on the commercial sale of
arms[.]” See Heller I, 554 US. at 626-27 & n.26 (emphasis added); Silvester, 843
F.3d at 829-32 (Thomas, C.J., concurring). Registration and permitting
requirements are conditions and qualifications attached to the sale (or other

transfer) of firearms. In Hawaii, registration and permitting requirements, in

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general, date back to 1907 and 1919, respectively. Therefore, in-person
inspections, as part of the registration process, should be included in the exception.
Basic registration requirements are “longstanding in American law, accepted for a
century in diverse states and cities and now applicable to more than one fourth of
the Nation by population” and should be “presume[d] . . . not [to] impinge upon
the right protected by the Second Amendment.” See Heller I, 670 F.3d at 1254.
If the analysis proceeds to the second step, the core of the Second
Amendment is presumably implicated since Plaintiffs state that they want to
purchase handguns. But the requirement of bringing the firearm to the registration
does not impose a substantial burden. It affects only the manner in which a person
registers his or her firearm; it is not a ban. See Jackson, 746 F.3d at 961.
Moreover, it simply is not that hard to bring a firearm to the police station. Toa
certain extent, the police are already expecting it. See HRS §§ 134-23(a)(6), 134-
24(a)(6), and 134-25(a)(6) (place to keep laws expressly permit taking firearms to
police stations); HRS § 134-3 (registration required within five days of
acquisition). Plaintiffs’ complaint that they have to take off time from work is just
a common and minor inconvenience, not a substantial burden. See Memorandum,
ECF 85-1 at pp. 1-3, 14, 24 of 30. And convenience is not the standard. Although

the core of the Second Amendment may be implicated, there must also be a

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substantial burden in order for strict scrutiny to be applied. See Silvester, 843 F.3d
at 822.

In any event, as part of the Plaintiffs’ settlement with the City and County of
Honolulu in this case, the Honolulu Police Department Firearms Permit Unit
agreed to extend their hours of operation. See the Declaration of Kendall J. Moser
attached to Defendant’s Concise Statement at J 18. Presumably, the Plaintiffs, in
coming to this agreement and choosing to dismiss with prejudice their claims
against the City and County, deemed HPD’s extended hours to be satisfactory and
not in conflict with their work schedules.

Plaintiffs’ argument that strict scrutiny applies is clearly incorrect. See
Memorandum, ECF 85-1 at p. 17 of 30. Since there is no substantial burden,
intermediate scrutiny should be applied. See Silvester, 843 F.3d at 822.

In general, the “significant, substantial, or important” government objective
in requiring people to comply with registration requirements is public safety in that
such requirements provide more effective supervision and control over the sale,
transfer, and possession of firearms. See S. Stand. Comm. Rep. No. 388, in 1919
Senate Journal, at 1420, Exhibit “C” to Defendant’s Concise Statement. More
specifically, the “significant, substantial, or important” government objective in
requiring people to bring the firearm to the registration is that it ensures that the

registration information is accurate, it ensures that the firearm complies with

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Hawaii law, and it confirms the identity of the firearm so as to facilitate tracing by
law enforcement. See Marzzarella, 614 F.3d at 98. A “reasonable fit” between the
challenged law and the asserted objective exists because ensuring that the
registration information is accurate, ensuring that the firearm complies with Hawaii
law, and confirming the identity of the firearm can easily be accomplished simply
by bringing the firearm to the registration for inspection. See Jackson, 746 F.3d at
965.

It should also be noted that inspecting a firearm at the time of registration
provides a significant benefit to the new owner of the firearm. HRS § 134-10
prohibits wilful alteration, removal, or obliteration of identifying marks ona
firearm. However, it also states that “/pJossession of a firearm or ammunition
upon which any mark of identity has been altered, removed, or obliterated shall be
presumptive evidence that the possessor has altered, removed, or obliterated the
mark of identity.” Jd. (emphasis added). Nevertheless, if a person voluntarily
brings the firearm to a police station for registration soon after acquiring it (HRS §
134-3(b) requires registration within five days), and the alteration is discovered
then, that is strong evidence rebutting the presumption that the possessor wilfully
altered the identifying marks. Under those circumstances, it is much more likely
that the prior owner was responsible for the alteration rather than the new owner.

Therefore, in-person inspection at registration sets a “base line” that protects the

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new owner. Without this base line, the new owner could be accused of the
alteration at some point in the distant future when the alteration is finally
discovered. At that point, the new owner would be left with little evidence other
than his or her own word. It should also be noted that the prohibition against
altering identifying marks dates back to 1927. See Act 206, § 13 at p. 212, Exhibit
“E” to Defendant’s Concise Statement.

Consequently, the requirement of bringing the firearm to the registration
survives intermediate scrutiny. Accordingly, summary judgment should likewise

enter in favor of Defendant as to Plaintiffs’ in-person inspection claim.

V. CONCLUSION

Based on the foregoing reasons and authorities, Defendant respectfully
requests that this Court enter summary judgment in her favor and against the
Plaintiffs.

DATED: Honolulu, Hawaii, May 28, 2021.

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